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UNU F,D STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

CH]LI EXPRESS, INC.,

Plaintiff, STIPULATIGN OF VOLUNTARY
DISMISSAL PURSUANT TO
-against- F.R.C.P. 41(a)(1)(A)(ii)
ATLANTIC CASUALTY INSURANCE CO., Case No.: 16-6607
Defendant.

 

 

IT IS HEREBY STIPULATED AND AGREED, by and between undersigned counsel for
all parties, that:
1_ Atlantic Casualty Insurance Company (“Atlantic Casualty”) effectively rescinded

the Atlantic Casualty policies at issue, i.e. policy numbers M035001186 and

M03 5001467, ab initio, and therefore this action is no longer necessary,

 

 

2. In light of the above, all claims herein are dismissed With prejudiced as against all
parties
3. Electronically transmitted signatures Shall be deemed originals for all purposes
Finger La ' .', . Keidel, Weldon & Cunningham, LLP
BYI By:
Debra M. Krebs, Esq.
Attorneys for Plaz'ntz`]j‘ Robert W. Lewis, Esq.
Chilz` Express, 1 nc. Attorneys for Defendant
121 West Main St. Atlantic Casualty Insurance Co.
Victor, NY 14564 925 Westchester Avenue
(585) 924-7420 Suite 400

White Plains, NY 10604
(914) 948-7000

SO ORDERED

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